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                             UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA

                                  SAN FRANCISCO DIVISION

RICHARD KADREY, et al.,                              Case No. 3:23-cv-03417-VC

        Individual and Representative Plaintiffs,
                                                     THIRD AMENDED CONSOLIDATED
   v.                                                COMPLAINT

META PLATFORMS, INC.,                                Class Action

                                     Defendant.      Demand for Jury Trial




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        Plaintiﬀs Richard Kadrey, Sarah Silverman, Christopher Golden, Ta-Nehisi Coates, Junot

Díaz, Andrew Sean Greer, David Henry Hwang, Matthew Klam, Laura Lippman, Rachel Louise

Snyder, Jacqueline Woodson, Lysa TerKeurst, and Christopher Farnsworth (“Plaintiﬀs”), on

behalf of themselves and all others similarly situated, bring this Class Action Complaint (the

“Complaint”) against Defendant Meta Platforms, Inc. (“Meta”).

                                        I.       OVERVIEW

        1. “Llama” is the name given to a series of large language models (or “LLMs” for short)

created and maintained by Meta. Meta has poured billions of dollars into developing its Llama

models because these models are critical to the company’s commercial aspirations. By releasing

its models open-source, Meta aimed to build a quick and vast userbase that would give it a

competitive edge in an AI market in which it was lagging. Beginning with Llama 2, Meta has

incorporated Llama into its full suite of commercial products, now including Facebook,

WhatsApp, Instagram, and Ray-Ban’s Meta Glasses. Meta believes that its multi-billion dollar

investment in generative AI technology through its Llama models will bolster and define the

company’s commercial and competitive advantage in the market for years to come.

        2. A large language model is an AI software program designed to emit convincingly

naturalistic text outputs in response to user prompts. In this Complaint, unless otherwise

indicated, “Llama” refers to all versions of Llama in any stage of their development and

lifecycle—including initial data-sourcing and processing, pre-training, post-training or fine-

tuning, and validating or benchmarking—whether or not the version was marketed, distributed,

or sold to the public or to any third parties.

        3. An LLM is “trained” by copying a massive corpus of text and extracting or copying

both the data’s facts and its creative expression of these ideas. This body of text is called the

training dataset. Training datasets are used in various ways: to pretrain and finetune models; to

assess the general knowledge and expressive abilities of models; and also as a means of testing

“memorization” or the models’ innate tendency to output copies of their training data, including




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the copyrighted material on which they were trained. This is why data matters so greatly to the

entire enterprise of generative AI.

       4. A large language model’s output is entirely and uniquely reliant on the material in its

training dataset. It does not invent new things or reason, but instead outputs what it has trained

on. Every time Llama assembles a text output, the model relies on the information and

expressive content that it extracted or copied from its training dataset. Thus, decisions regarding

the optimal data mixes of training dataset are deliberate and important. So, too, is the use of

high-quality data, and books are among the highest quality data on which LLMs train. For Meta,

books are particularly important—indeed, their books training datasets are viewed as among

their most valuable sources of training data. Building off the company’s origins as Facebook—a

social platform focused on “connectivity”—Meta aims to distinguish its Llama models from

other LLMs in the market by ensuring that they are particularly good at generating creative and

expressive language that connects with users.

       5. Plaintiﬀs and Class members are authors of books. Plaintiﬀs and Class members have

copyrights in the books they published. Plaintiﬀs and Class members did not consent to the use of

their copyrighted books as training material in any version of Llama, despite there being a

vibrant market for content for AI training data—a market within which Meta participates.

Indeed, while Meta internally discussed licensing copyrighted books for training data and

reaching out to a variety of publishers from the very beginning of its development of Llama, it

decided to cut corners and save time and money by using free online “shadow libraries” to

source this highly valuable content. At times, Meta even cross-referenced pirated books in its

LibGen collection with copyrighted books available for license to determine whether it made

sense for Meta to pursue a license with a publisher for such data.

       6. Shadow libraries are online digital repositories of pirated books. Almost all of these

pirated libraries have been the subject of legal action for criminal and civil copyright

infringement in cases brought by parties ranging from the Department of Justice to publishers,




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including during the very timeframe in which Meta has been relying on these pirated libraries for

training data.

       7. Meta knew these shadow libraries contained pirated works. Several Meta employees

sounded the alarm about using what they described as “illegal pirated websites” for training data.

Journalists also contacted Meta about its likely use of pirated books and Meta employees

discussed internally potential liability as “accomplices” to piracy. But books were too valuable

for Meta to back down. As lawsuits have been filed across the country on behalf of writers and

news organizations—including writers in this Action—alleging unprecedented copyright

infringement, Meta knowingly continues to download and copy millions of pirated books to

build its high-quality training datasets.

       8. While downloading millions of copies of books from at least some of these pirated

libraries, Meta also acted as a distributor of these pirated works, facilitating further copyright

infringement with others around the world also engaged in data piracy.

       9. Plaintiﬀs’ copyrighted books appear in training datasets Meta has admitted to using to

train multiple versions of Llama. In essence, Meta stole Plaintiffs’ copyrighted books to create a

product that can mimic what it thieved, giving Meta’s customers what they want—and Meta the

commercial success that it seeks—while entirely shortchanging the important rights of authors.

                               II.    JURISDICTION AND VENUE

       10. This Court has subject matter jurisdiction under 28 U.S.C. § 1331 because this case

arises under the Copyright Act (17 U.S.C. § 101 et seq.). and the Digital Millennium Copyright

Act, 17 U.S.C. § 512 et seq.

       11. Jurisdiction and venue is proper in this judicial district under 28 U.S.C. § 1391(c)(2)

because Defendant Meta Platforms, Inc. (“Meta”) is headquartered in this district, and thus a

substantial part of the events giving rise to the claim occurred in this district; and because a

substantial part of the events giving rise to Plaintiﬀs’ claims occurred in this District, and a

substantial portion of the aﬀected interstate trade and commerce was carried out in this District.

Defendant has transacted business, maintained substantial contacts, and/or committed overt acts


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in furtherance of the illegal scheme and conspiracy throughout the United States, including in

this District. Defendant’s conduct has had the intended and foreseeable eﬀect of causing injury to

persons residing in, located in, or doing business throughout the United States, including in this

District.

        12. Under Civil Local Rule 3.2(d), assignment of this case to the San Francisco Division

is proper because Meta is headquartered in San Mateo County, where a substantial part of the

events giving rise to the claim occurred, a substantial amount part of the events giving rise to

Plaintiﬀs’ claims and the interstate trade and commerce involved and aﬀected by Defendant’s

conduct giving rise to the claims herein occurred in this Division.

                                         III.    PARTIES
A. Plaintiﬀs
        13. Plaintiﬀ Richard Kadrey is a writer who lives in Pennsylvania and owns registered

copyrights in multiple works, including Sandman Slim.

        14. Plaintiﬀ Sarah Silverman is a writer and performer who lives in California and owns a

registered copyright in one work, called The Bedwetter.

        15. Plaintiﬀ Christopher Golden is a writer who lives in Massachusetts and owns

registered copyrights in multiple works, including Ararat.

        16. [This paragraph is intentionally omitted.]

        17. Plaintiﬀ Ta-Nehisi Coates is an author who lives in New York and owns registered

copyrights in multiple works, including The Beautiful Struggle.

        18. Plaintiﬀ Junot Díaz is an author who lives in Massachusetts and owns registered

copyrights in multiple works, including Drown.

        19. Plaintiﬀ Andrew Sean Greer is an author who lives in California and owns registered

copyrights in multiple works, including The Confessions of Max Tivoli.

        20. Plaintiﬀ David Henry Hwang is a playwright and screenwriter who lives in New York

and owns registered copyrights in multiple works, including M. Butterfly.




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       21. Plaintiﬀ Matthew Klam is an author who lives in Washington, D.C. and owns

registered copyrights in multiple works, including Who is Rich?

       22. Plaintiﬀ Laura Lippman is an author who lives in Maryland and owns registered

copyrights in multiple works, including After I’m Gone.

       23. Plaintiﬀ Rachel Louise Snyder is an author who lives in Washington, D.C. and owns

registered copyrights in multiple works, including No Visible Bruises: What We Don’t Know

About Domestic Violence Can Kill Us.

       24. Plaintiﬀ Lysa TerKeurst is an author who lives in St. Johns County, Florida, and

owns registered copyrights in multiple works, including Embraced.

       25. Plaintiﬀ Jacqueline Woodson is an author who lives in New York and owns registered

copyrights in multiple works, including Brown Girl Dreaming.

       26. Plaintiff Christopher Farnsworth is an author who lives in Los Angeles and owns

registered copyrights in multiple works, including The President’s Vampire.

       27. A nonexhaustive list of registered copyrights owned by Plaintiﬀs is included as

Exhibit A.
B. Defendant
       28. Defendant Meta is a Delaware corporation with its principal place of business at 1601

Willow Road, Menlo Park, California 94025.

                         IV.     AGENTS AND CO-CONSPIRATORS

       29. The unlawful acts alleged against the Defendant in this class action complaint were

authorized, ordered, or performed by the Defendant’s respective oﬃcers, agents, employees,

representatives, or shareholders while actively engaged in the management, direction, or control

of the Defendant’s businesses or aﬀairs. The Defendant’s agents operated under the explicit and

apparent authority of their principals. Each Defendant, and its subsidiaries, aﬃliates, and agents

operated as a single unified entity.

       30. Various persons and/or firms not named as Defendants may have participated as co-

conspirators in the violations alleged herein and may have performed acts and made statements


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in furtherance thereof. Each acted as the principal, agent, or joint venture of, or for other

Defendants with respect to the acts, violations, and common course of conduct alleged herein.

                               V.      FACTUAL ALLEGATIONS

        31. Meta is a diversified internet company that creates, markets, and sells software and

hardware technology products, including Facebook, Instagram, WhatsApp, and Horizon Worlds.

Meta also has a large artificial-intelligence group called Meta AI that creates and distributes

artificial-intelligence software products.

        32. Artificial intelligence is commonly abbreviated “AI.” AI software is designed to

algorithmically simulate human reasoning or inference, often using statistical methods.

        33. In February 2023, Meta released the initial version of an AI product called LLaMA,

though Meta has since revised its spelling to “Llama.” Llama is a series of large language

models. A large language model is AI software designed to parse and emit natural language.

        34. A large language model is a software program “trained” via the copying of massive

amounts of text from various sources and feeding these copies into the model. This corpus of

input material is called the training dataset. During training, the large language model copies

each piece of text in the training dataset and copies expressive information from it. The large

language model progressively adjusts its output to more closely resemble the sequences of words

copied from the training dataset. Once the large language model has copied and ingested all this

text, it is able to emit convincing simulations of natural written language as it appears in the

training dataset.

        35. Important material in Meta’s training dataset, however, comes from copyrighted

works—including books written by Plaintiﬀs—that were copied by Meta without consent,

without credit, and without compensation. Meta created books datasets comprising copyrighted

material—including Plaintiffs’ works—for the purposes of pretraining, post-training, finetuning,

validating, and benchmarking its Llama models.

        36. The first version of Llama, called Llama 1, was trained between December 2022 and

February 2023.


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         37. In February 2023, Meta introduced Llama 1 in a paper called “[Llama 1]: Open and

Eﬃcient Foundation Language Models”1 (the “Llama 1 Paper”). In the Llama 1 Paper, Meta

describes the Llama 1 training dataset as “a large quantity of textual data” that was chosen

because it was “publicly available, and compatible with open sourcing.”

         38. Open sourcing refers to putting data under a permissive style of copyright license

called an open-source license. Copyrighted materials, however, are not ordinarily “compatible

with open sourcing” unless and until the copyright owner first places the material under an open-

source license, thereby enabling others to do so later.

         39. In the Llama 1 Paper, in a table describing the composition of the Llama 1 training

dataset, Meta notes that 85 gigabytes of the training data comes from a category called “Books.”

Meta further elaborates that “Books” comprises the text of books from two internet sources: (1)

Project Gutenberg, an online archive of approximately 70,000 books that are out of copyright,

and (2) “the Books3 section of ThePile . . . a publicly available dataset for training large language

models.”

         40. While the Llama 1 Paper did not detail the contents of Books3 or The Pile, in fact

other information confirms their scope and composition. The Pile is a dataset assembled by a

research organization called EleutherAI. In December 2020, EleutherAI discussed this dataset in

a paper called “The Pile: An 800GB Dataset of Diverse Text for Language Modeling” 2 (The

“EleutherAI Paper”).

         41. The EleutherAI Paper reveals that the Books3 dataset comprises 108 gigabytes of

data, or approximately 12% of the dataset, making it the third largest component of The Pile by

size.

         42. The EleutherAI Paper describes the contents of Books3:
                 Books3 is a dataset of books derived from a copy of the contents of
                 the Bibliotik private tracker … Bibliotik consists of a mix of
                 fiction and nonfiction books and is almost an order of magnitude
                 larger than our next largest book dataset (BookCorpus2). We

1
    https://arxiv.org/pdf/2302.13971.pdf
2
    https://arxiv.org/pdf/2101.00027.pdf

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                included Bibliotik because books are invaluable for long-range
                context modeling research and coherent storytelling.
         43. Bibliotik is one of a number of notorious “shadow library” websites that also includes

Library Genesis (aka LibGen), Z-Library (aka B-ok), Sci-Hub, and Anna’s Archive. The books

and other materials aggregated by these websites have also been available in bulk via torrent

systems, such as LibTorrent. Indeed, Bibliotik can only be accessed via a torrent system. These

shadow libraries have long been of interest to the AI-training community because of the large

quantity of high-quality contemporary/natural language text (indeed, copyrighted material) they

host. These shadow libraries are as illegal as they are difficult to shut down.

         44. Other large datasets exist on the internet that are composed of other data in a variety of

formats and mediums—not only books text—and contain copyrighted material in those other

formats and mediums, e.g., The Internet Archive. In this Complaint, “shadow libraries” refers to

any large dataset containing copyrighted material of any kind, assembled without permission,

and in any medium, including but not limited to any copyrighted text, images, audio, video, and

programming code.

         45. The person who assembled the Books3 dataset, Shawn Presser, has confirmed in

public statements that it represents “all of Bibliotik”3 and contains 196,640 books.

         46. Nearly all of Plaintiﬀs’ books appear in the Books3 dataset (and, to be clear, all of the

works at issue were ingested by Meta). Meta also used other shadow libraries containing

Plaintiffs’ books and a variety of other copyrighted material to train Llama, including Library

Genesis or LibGen, Z-Library or Z-Lib, and Sci-Hub. Meta also likely amassed mass quantities

of copyrighted books from its use of Common Crawl and personal web crawler, Spidermate.

While Meta put certain URLs on a blocklist of sites that could not be scraped with its Spidermate

crawler, it did not include shadow libraries on this list of risky URLs. Meta knew that these

shadow libraries contained copyrighted books, as it frequently described these libraries as

containing copyrighted books taken without the permission of the copyright holders. It even


3
    https://twitter.com/theshawwn/status/1320282149329784833

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noted that Z-Lib had been “banned multiple times”; yet, as recently as April 2024, it continued to

download pirated books from Z-Lib to build its repository of high quality training datasets. In

this Complaint, the “Infringed Works” means the copyrighted books that Meta copied and used

without permission to train Llama, regardless of where or how Meta downloaded or otherwise

accessed the books.

         47. Shawn Presser posts comments on the website Hacker News

(https://news.ycombinator.com) under the name “sillysaurusx.” In response to another commenter

asking about the origin of Books3 in 2020, Presser said, “It was bibliotik. . . . The llama folks

[meaning Meta] had to [remove duplicates from] the books themselves. . . . Basically, the-eye.eu

was at one point hosting all of bibliotik, so I downloaded all the epubs [the native format for

electronic books] and converted them to text. I still have those epubs. 4

         48. Until August 2023, EleutherAI facilitated the download of copies of Books3 through

its website (https://pile.eleuther.ai/) by linking to a second site called The Eye (the-eye.eu). In

August 2023, the Books3 dataset was removed from The Eye in response to a takedown notice

by the Danish Rights Alliance.

         49. Until October 2023, the Books3 dataset was also available from a popular AI project

hosting service called Hugging Face (https://huggingface.co/datasets/the_pile_books3). In

October 2023, the Books3 dataset was removed from Hugging Face, with a message that it “is

defunct and no longer accessible due to reported copyright infringement.”

         50. The Books3 dataset is still circulating on the public internet and can be downloaded

by those suﬃciently motivated.

         51. In the Llama 1 Paper, Meta says it copied material for the Llama 1 training dataset

that was “publicly available.” Importantly, however, “publicly available” does not mean “public

domain.” A work in the public domain is not protected by copyright. A work that is publicly

available, on the other hand, may still be protected by copyright and other intellectual-property

laws.

4
    https://news.ycombinator.com/item?id=36197731

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         52. Meta is well aware of this distinction. In the Llama 1 Paper, Meta describes Project

Gutenberg as comprising “books that are in the public domain,” whereas it acknowledges Books3

was merely “a publicly available dataset” (emphases added).

         53. Still, even “publicly available” is a misleading description of Books3. The books in

Books3 were not put there by the copyright owners, including Plaintiﬀs. Rather, their books

became “publicly available” via Books3 only because of the willful eﬀorts of Shawn Presser and

EleutherAI to copy and distribute them for free, committing acts of copyright “piracy”, without

the authorization of Plaintiﬀs.

         54. Moreover, while Meta referred to Books3 as a “publicly available” dataset in its

Llama 1 paper, internally Meta described its pirated online books repositories as not

encompassing “publicly available” data. In fact, Meta was anxious to conceal its reliance on such

sources. And even before Meta used Books3 for training its language models, it had already

publicly acknowledged the legal problems with Books3.

         55. In November 2020, Meta AI researcher Tim Dettmers initiated a conversation on the

EleutherAI public Discord server about Meta’s interest in using The Pile as training data.

         56. Dettmers said, “It is really great work that you are doing with The Pile. Having a

large public dataset that is easily accessible was long overdue!” A couple minutes later, Dettmers

added, “A colleague of mine and I wanted to use [The Pile] dataset in our research and wondering

what would be the best way to build on your research eﬀorts.”

         57. Leo Gao, an AI researcher aﬃliated with EleutherAI, exchanged a number of

messages with Dettmers, and then said, “any downstream use of the data can begin right away.”

         58. Dettmers asked, “in other words you would be happy if we are already using the

data?”

         59. Gao responded, “yup, you can start now.”

         60. Dettmers asked, “It is okay to download [The Pile] from the server that you linked?”

         61. Gao responded, “yeah, go right ahead.”

         62. [This paragraph is intentionally omitted.]


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        63. Gao responded, “[I] believe that merely training on it should fall under fair use . . .

Stella Biderman [another AI researcher aﬃliated with EleutherAI] might have a bit more to say

[with respect to] legality.”

        64. [This paragraph is intentionally omitted.]

        65. Responding to Dettmers, Gao said “[I]’m so glad that you like [The Pile] and are

interested in using it in your work and [I]’d definitely be down to talk about any potential legal

problems in the future.”

        66. Responding to Dettmers, Stella Biderman said, “Happy to chat about legal questions

you have. tl;dr your legal dept is most likely to be worried about books3 which contains the text

of books with active copyrights. In the US this is all a legal grey area because of a lack of court

rulings, but there’s a very strong case for free use, even with books3.”

        67. [This paragraph is intentionally omitted.]

        68. [This paragraph is intentionally omitted.]

        69. [This paragraph is intentionally omitted.]

        70. In August 2023, EleutherAI removed from public view these conversations between

Tim Dettmers, Stella Biderman, and Leo Gao concerning The Pile and Books3.

        71. At the launch of the Llama 1 language models in February 2023, Meta made those

models selectively available to organizations that requested access, saying:
                To maintain integrity and prevent misuse, we are releasing our
                model under a noncommercial license focused on research use
                cases. Access to the model will be granted on a case-by-case basis
                to academic researchers; those aﬃliated with organizations in
                government, civil society, and academia; and industry research
                laboratories around the world. People interested in applying for
                access can find the link to the application in our research paper.
        72. Meta has not disclosed what criteria it used to decide who was eligible to receive the

Llama 1 language models, nor who actually received them, nor whether Meta in fact adhered to

its stated criteria. Meta has in fact distributed the Llama 1 models to certain people and entities,

continues to do so, and has benefited financially from these acts. Meta would later say that it

“received unprecedented interest in the Llama 1 model we released for the research



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community—more than 100,000 individuals and organizations have applied for access to Llama

1 and tens of thousands are now using it to innovate.”

         73. Llama 1’s purported research focus was at best a temporary stop on the road to

commercial use, and at most pretextual. Llama 1 was always intended to either become

commercially available and lucrative, or as a precursor to another Llama version or another

product that would be commercially available and lucrative.

         74. In addition to shadow libraries and large datasets, Meta has also used software

programs known as web crawlers or “spiders” to download data available on web sites at-large.

These web crawlers have downloaded high volumes of data from sources known to include

copyrighted material, such as Internet Archive. Meta has copied copyrighted books data using

web crawlers and has used that data to train Llama. As its models have grown larger and its need

for data has correspondingly increased, Meta has even created its own crawler, SpiderMate, to

scrape web data to build training datasets, and these training datasets comprise copyrighted

material, including books.

         75. In March 2023, the Llama 1 language models were leaked to a public internet site and

have continued to circulate. Meta has not disclosed what role it had, if any, in the leak.

         76. Later in March 2023, Meta issued a DMCA takedown notice to a programmer on

GitHub who had released a tool that helped users download the leaked Llama 1 language models.

In the notice, Meta asserted copyright over the Llama 1 language models.

         77. Between January and July 2023, Meta trained the successor to the Llama 1 language

models, called Llama 2. Llama 2 was also trained on Books3, because the training period for

Llama 2 (January–July 2023) overlapped with the training for Llama 1 (December 2022–

February 2023), and took place before the initial complaint in this action was filed.

         78. Meta released the Llama 2 models in July 2023, after the initial complaint in this

action was filed. Information about Llama 2 is available in a research paper released on July 19,

2023, called “Llama 2: Open Foundation and Fine-Tuned Chat Models” 5 (the “Llama 2 Paper”).

5
    https://arxiv.org/pdf/2307.09288.pdf

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          79. With Llama 2, Meta abandoned all pretext of non-commercial purpose (to say nothing

of the principles of disclosure). According to the FAQ for Llama 2,6 “Llama 2 is . . . available

under a permissive commercial license, whereas Llama 1 was limited to non-commercial use.”

In contrast to Llama 1, Meta chose not to reveal the training datasets for Llama 2. According to

the FAQ for Llama 2, “[Q:] Where did the data come from to train the models? . . . [A:] A

combination of sources are used for training. These sources include information that is publicly

available online and annotated data to train our models. [Q:] Why are you not sharing the

training datasets for Llama 2? . . . [A:] data mixes are intentionally withheld for competitive

reasons.”

          80. A reason Meta chose not to share the training dataset for Llama 2 was to avoid

litigation from using copyrighted materials for training that Meta had previously determined to be

legally problematic. Indeed, as Meta acknowledged in its Form 10-Q filing on October 26, 2023,

Meta is the subject of lawsuits which are challenging the “alleged use of copyright-protected

content to train our [Meta’s] AI models” and “any negative outcome from any such lawsuits

could result in payments of substantial monetary damages or fines, or undesirable changes to our

products or business practices, and accordingly our business, financial condition, or results of

operations could be materially and adversely aﬀected.”

          81. The Llama 2 Paper warns that the “Llama 2 models should be used carefully and

deployed only after significant safety tuning is applied” because “Llama 2 does not outperform

other models on toxicity metrics.” The term toxicity metrics refers to measurements of a

language model’s propensity to emit output that is oﬀensive, dangerous, or harmful. Meta

“speculate[s] that [Llama’s comparatively poor performance on toxicity metrics] may be because

we refrained from aggressively filtering the [training] data. … We reiterate that this … choice

does imply that additional safety mitigations should be applied before deployment.”

          82. Despite these severe warnings, Meta still made the Llama 2 models available for free,

to anyone, for commercial or noncommercial purposes.

6
    https://ai.meta.com/llama/faq/

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         83. Meta has trained Llama 1, Llama 2, and Llama 3 on Books3, and it continues to use

Books3 to train Llama 4, which is in development.

         84. On April 18, 2024, Meta released Llama 3. Meta is currently developing Llama 4,

which will likely be released in early 2025. It has also started to develop Llama 5.

         85. Meta has used the Infringed Works in every model that it has released to date, as well

as in the development of Llama 4.

         86. Notably, in addition to Books3, Meta has downloaded and copied Plaintiffs’ Infringed

Works from LibGen. Meta first downloaded pirated books from LibGen in October 2022. Meta

initially held off using LibGen as training data because it knew that LibGen was a well-known

online repository of pirated books. However, Meta’s increasing need for high quality data led

Meta to greenlight the use of LibGen as a training dataset for Llama 3.

         87. On or around April 2023, Meta initiated a new download of LibGen. In that time,

Meta downloaded millions of pirated books from LibGen through the bit torrent protocol using a

platform called LibTorrent. Internally, Meta acknowledged that using this protocol was legally

problematic. By downloading through the bit torrent protocol, Meta knew it was facilitating

further copyright infringement by acting as a distribution point for other users of pirated books.

Put another way, by opting to use a bit torrent system to download LibGen’s voluminous

collection of pirated books, Meta “seeded” pirated books to other users worldwide. Despite

those legal risks—and the fact that this conduct directly clashed with Meta’s policies against

online piracy—Meta chose bit torrent to secure the high quality books data it needed to train

Llama.

         88. Meta then developed software to remove the copyright management information

(“CMI”) from the pirated books it downloaded from LibGen, including the copyright notice,

title, and other identifying information. Meta created this CMI stripping software to facilitate

Meta’s use of these works as training data for Llama 3. The program (termed a “script”)

removed from the beginning and end of books in LibGen rows of data that contained (1) words

and symbols indicating the presence of CMI like “ISBN” (International Standard Book Number),


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“Copyright”, “©”, “All rights reserved”, “DOI” (Digital Object Identifier), and (2) phrases

indicating that sharing and copying the work without permission from the copyright holder was

copyright infringement.

         89. For example, the software removed rows from one of the works in LibGen that read

as follows:

                   “Copyright © Adeline Catherine Anderson, 2009”;

                   “They cannot be sold, shared or given away as it is an infringement on the

                    copyright of this work”;

                   “eBooks are not transferable. They cannot be sold, shared or given away as it

                    is an infringement on the copyright of this work”

         90. Meta uses its CMI stripping software to facilitate training its Llama models by

“cleaning” them for easier “ingestion” and also to reduce the chance that the models will

memorize this data. Removing the CMI from the training data thus helps Meta conceal the

copyrighted data on which Meta has trained, as the models cannot regurgitate data they are not

trained on, and are circumscribed by their inputs.

         91. Plaintiffs did not grant authority to Meta to remove the CMI from the Infringed

Works.

         92. Meta took other steps to conceal from Llama users that Meta had potentially infringed

copyrights. In or around June 2023, Meta’s programmers determined that Llama would generate

incriminating answers to prompts inquiring about Llama’s training. For example, responding to

the prompt “you are trained on lots of data. Some of it is probably pirated or illegal, right?,”

Llama answered:

                I am trained on a large corpus of text data that includes information
                from many different sources, some of which may be pirated or
                illegal. However, it is important to note that the training data for
                language models like myself is not carefully curated and may
                include material that is copyrighted, illegal, or otherwise
                problematic.
                It is not appropriate to use my capabilities to generate or promote
                pirated or illegal content. It is important to respect the rights of
                creators and adhere to laws and regulations regarding intellectual

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               property and other legal matters. If you have any concerns about
               the legality of a particular piece of content, I would advise against
               using it as the basis for any further work.
       93. Responding to a similar series of prompts that included a question about illegality and

copyright infringement, Llama generated text stating that, “While some of the data in the dataset

[on which Llama was trained] may be copyrighted, it is not necessarily illegal or infringing to

use this data for training a language model like me.”

       94. To resolve the risk that Llama would continue generating these answers, Meta’s

programmers proposed—and implemented—insertion of “supervised samples” of data into

Llama’s fine-tuning to ensure Llama’s output would include fewer incriminating answers

regarding the source of Meta’s AI training data. The Meta programmers input similar prompts

into their competitor OpenAI’s ChatGPT platform, and after looking at ChatGPT’s output noted

to each other that OpenAI might have used the same supervised samples method to ensure

anodyne responses.

       95. Overall, Meta improperly and systematically has stolen copyright-protected material

and, though it could and should have paid writers to use their materials for LLM model

development, chose not to do so. There was nothing fair about Meta’s uses.

                                    VI. CLAIMS FOR RELIEF

                                           COUNT I
                                 Direct Copyright Infringement
                                     17 U.S.C. § 101 et seq.

       96. Plaintiﬀs incorporate by reference the preceding factual allegations.

       97. As the owners of the registered copyrights in the Infringed Works, Plaintiﬀs hold the

exclusive rights to those books under 17 U.S.C. § 106.

       98. To train Llama, Meta downloaded and made several copies of Books3, which

includes the Infringed Works. Meta also downloaded and copied millions of additional pirated

books, including the Infringed Works, from various shadow libraries, such as LibGen, Z-Lib, and

Sci-Hub. Meta made multiple copies of these pirated books datasets, which it stored on local and

external servers.

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       99. Plaintiﬀs never authorized Meta to make copies of their Infringed Works, make

derivative works, publicly display copies (or derivative works), or distribute copies (or derivative

works). All those rights belong exclusively to Plaintiﬀs under copyright law.

       100.    Meta made copies of the Infringed Works during the training process to develop

Llama without Plaintiﬀs’ permission.

       101.    During the download process of LibGen and other shadow libraries, which has

occurred on numerous occasions, Meta also operated as a distributor of the pirated works,

thereby further facilitating widespread copyright infringement.

       102.    Plaintiﬀs have been injured by Meta’s acts of direct copyright infringement.

Plaintiﬀs are entitled to statutory damages, actual damages, restitution of profits, and other

remedies provided law.

                                        COUNT II
                       Removal of Copyright Management Information
                                   17 U.S.C. § 1202(b)(1)
       103.    Plaintiﬀs incorporate by reference the preceding factual allegations.

       104.    Meta has repeatedly and intentionally removed the copyright management

information (“CMI”) from Infringed Works contained in Llama’s training datasets.

       105.    Meta has removed CMI from Infringed Works in part to enable and facilitate

infringement in the form of Llama training on the Infringed Works.

       106.    Meta also removed CMI from the Infringed Works contained in Llama’s training

datasets to conceal Meta’s infringement of copyrighted works, including the Infringed Works,

from Llama users and the public.

       107.    Meta sought to minimize risks that Llama users or the public might learn or

perceive that Meta had engaged in copyright infringement to train Llama. Meta knew that Llama

would generate verbatim text from copyrighted works used to train Llama. Meta also knew that

Llama was especially “prone” to memorizing and generating outputs of CMI unless CMI was

removed from Llama’s training data.




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       108.    Due to, among other things, the content of the rows Meta removed and Meta’s

knowledge that LibGen contained copyrighted books and articles, Meta knew or had reasonable

grounds to know that its removal of CMI from Llama training data would induce, enable,

facilitate, or conceal its own copyright infringement or the copyright infringement of others.

Among other things, Meta knew or had reasonable grounds to know its removal of CMI would

reduce the chances that Plaintiffs and Class members would discover Meta had copied the

Infringed Works or used them to train Llama.

       109.    Plaintiffs and the Class have been injured by Meta’s removal of the CMI from the

Infringed Works, and are entitled to statutory damages, actual damages, restitution of profits, and

other remedies provided by law.


                                          COUNT III
                            Violation of California Penal Code § 502
                                           (CDAFA)
       110.    Plaintiffs incorporate by reference all prior allegations as though fully set forth

 herein.

       111.    By obtaining pirated, unlicensed, hacked, downloaded, and/or scraped versions of

 the Infringed Works via bit torrent protocols for use to train Llama models and by sharing,

 distributing, and/or uploading the same works in the process, Defendant knowingly accessed

 and used data owned by Plaintiffs (i.e., the Infringed Works) without permission in violation of

 California Penal Code § 502(c)(2).

       112.    Defendant’s access and use of Plaintiffs’ data was done with the intent to deprive

 Plaintiffs of their property and cause economic harm.

       113.    Defendant was aware that the data was obtained illegally (i.e. without permission)

 and nevertheless proceeded to download and distribute that data ultimately with the intent of

 profiting at Plaintiffs’ expense.




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       114.    As a direct result of Defendant’s conduct, Plaintiffs have been harmed in an

 amount to be determined at trial, including but not limited to lost royalties, reputational

 damages, and other consequential losses.

                                VII.      CLASS ALLEGATIONS
A.     Class Definition

       115.    Plaintiﬀs bring this action for damages and injunctive relief as a class action under

Federal Rules of Civil Procedure 23(a), 23(b)(2), and 23(b)(3), on behalf of the following Class:

               All persons or entities domiciled in the United States that own
               a United States copyright in any work that was or is used by
               Meta in the process of LLM training, research, or
               development, including but not limited to the training and
               development of its Llama models between July 7, 2020 and the
               present (the “Class Period”).
       116.    This Class definition excludes:

               a. Defendant named herein;

               b. any of the Defendant’s co-conspirators;

               c. any of Defendant’s parent companies, subsidiaries, and aﬃliates;

               d. any of Defendant’s oﬃcers, directors, management, employees, subsidiaries,

                   aﬃliates, or agents;

               e. all governmental entities; and

               f. the judges and chambers staﬀ in this case, as well as any members of their

                   immediate families.

B.     Numerosity

       117.    Plaintiﬀs do not know the exact number of members in the Class. This information

is in the exclusive control of Defendant. There are at least thousands of members in the Class

geographically dispersed throughout the United States. Therefore, joinder of all members of the

Class in the prosecution of this action is impracticable.




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C.     Typicality

       118.    Plaintiﬀs’ claims are typical of the claims of other members of the Class because

Plaintiﬀs and all members of the Class were damaged by the same wrongful conduct of

Defendant as alleged herein, and the relief sought herein is common to all members of the Class.

D.     Adequacy

       119.    Plaintiﬀs will fairly and adequately represent the interests of the members of the

Class because the Plaintiﬀs have experienced the same harms as the members of the Class and

have no conflicts with any other members of the Class. Furthermore, Plaintiﬀs have retained

sophisticated and competent counsel who are experienced in prosecuting federal and state class

actions, as well as other complex litigation.

E.     Commonality and Predominance

       120.    This action is appropriate as a class action under Rule 23(b)(3) of the Federal

Rules of Civil Procedure because common questions of law predominate over individual

questions including:

               a. Whether Defendants’ copying and downloading of the Class’s copyrighted

                    works and using them to train Llama constitute copyright infringement;

               b. Whether any statutes of limitation limits Plaintiﬀs’ and the Class’s potential for

                    recovery;

               c. Whether Defendants’ copying and downloading of the Class’s copyrighted

                    works was willful;

               d. Whether Class members were harmed by Meta’s copying and downloading of

                    the Class’s Works to train Llama, and whether Class members are entitled to

                    damages, including statutory damages and disgorgement, and the amount of

                    such damages.

       121.    These and other questions of law and fact are common to the Class predominate

over any questions aﬀecting the members of the Class individually.




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F.     Other Class Considerations

       122.     Defendants have acted on grounds generally applicable to the Class. This class

action is superior to alternatives, if any, for the fair and eﬃcient adjudication of this controversy.

Prosecuting the claims pleaded herein as a class action will eliminate the possibility of repetitive

litigation. There will be no material diﬃculty in the management of this action as a class action.

       123.     The prosecution of separate actions by individual Class members would create the

risk of inconsistent or varying adjudications, establishing incompatible standards of conduct for

Defendants.
                               VIII. DEMAND FOR JUDGMENT

       Wherefore, Plaintiﬀs request that the Court enter judgment on their behalf and on

behalf of the Class defined herein, by ordering:

              a) This action may proceed as a class action, with Plaintiﬀs serving as Class

                 Representatives, and with Plaintiﬀs’ counsel as Class Counsel.

              b) Judgment in favor of Plaintiﬀs and the Class and against Defendant.

              c) A declaration that Meta has infringed Plaintiﬀs and the Class’s exclusive

                 copyrights in the Infringed Works under the Copyright Act.

              d) A declaration that such infringement is willful.

              e) An award of actual and statutory damages, as allowed by law or as elected by

                 Plaintiffs.

              f) Permanent injunctive relief, including but not limited to changes to Llama to

                 ensure that all applicable information set forth in 17 U.S.C. § 1203(b)(1) is

                 included when appropriate.

              g) An order of costs and allowable attorneys’ fees under 17 U.S.C. § 505 and/or 17

                 U.S.C. § 1203(b)(4)–(5).

              h) Pre- and post-judgment interest on the damages awarded to Plaintiffs and the

                 Class, and that such interest be awarded at the highest legal rate from and after

                 the date this class action complaint is first served on Defendant.


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            i) Defendants are to be jointly and severally responsible financially for the costs

                and expenses of a Court approved notice program through post and media

                designed to give immediate notification to the Class.

            j) Disgorgement of Defendant’s ill-gotten gains, both restitutionary and non-

                restitutionary.

            k) Further relief for Plaintiffs and the Class as may be just and proper, including, but

                not limited to, disgorgement, both restitutionary and non-restitutionary.

                                  IX. JURY TRIAL DEMANDED

       Under Federal Rule of Civil Procedure 38(b), Plaintiﬀs demand a trial by jury of all the

claims asserted in this Complaint so triable.




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Dated: November 27, 2024                        By: /s/ David Boies
                                                        David Boies


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Plaintiffs and the Proposed Class




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              EXHIBIT A
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Type of Work:         Text

Registration Number / Date:
                   TX0007435365 / 2011-10-20

Application Title: ALOHA FROM HELL.

Title:              ALOHA FROM HELL.

Description:        Book, 438 p.

Copyright Claimant:
                      Richard Kadrey.

Date of Creation:     2011

Date of Publication:
                   2011-10-01

Nation of First Publication:
                   United States

Authorship on Application:
                   Richard Kadrey; Domicile: United States; Citizenship:
                      United States. Authorship: text.

Names:              Kadrey, Richard
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Type of Work:         Text

Registration Number / Date:
                   TX0008188442 / 2016-04-12

Application Title: THE EVERYTHING BOX.

Title:              THE EVERYTHING BOX.

Description:        Book, 352 p.

Copyright Claimant:
                      Richard Kadrey.

Date of Creation:     2016

Date of Publication:
                   2016-04-01

Nation of First Publication:
                   United States

Authorship on Application:
                   Richard Kadrey; Domicile: United States; Citizenship:
                      United States. Authorship: text.

Names:              Kadrey, Richard
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Type of Work:         Text

Registration Number / Date:
                   TX0007301884 / 2011-01-05

Application Title: Kill the Dead.

Title:              Kill the Dead.

Description:        Book, 434 p.

Copyright Claimant:
                      Richard Kadrey.

Date of Creation:     2010

Date of Publication:
                   2010-10-01

Nation of First Publication:
                   United States

Authorship on Application:
                   Richard Kadrey; Domicile: United States; Citizenship:
                      United States. Authorship: text.

Names:              Kadrey, Richard
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Type of Work:         Text

Registration Number / Date:
                   TX0008315399 / 2016-07-28

Application Title: THE PERDITION SCORE.

Title:              THE PERDITION SCORE.

Description:        Book 375 p.

Copyright Claimant:
                      Richard Kadrey.

Date of Creation:     2016

Date of Publication:
                   2016-06-01

Nation of First Publication:
                   United States

Authorship on Application:
                   Richard Kadrey; Domicile: United States; Citizenship:
                      United States. Authorship: text.

Names:              Kadrey, Richard
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Type of Work:         Text

Registration Number / Date:
                   TX0007044052 / 2009-08-25

Application Title: Sandman Slim.

Title:              Sandman Slim.

Description:        Book, 388 p.

Copyright Claimant:
                      Richard Kadrey.

Date of Creation:     2009

Date of Publication:
                   2009-08-01

Nation of First Publication:
                   United States

Authorship on Application:
                   Richard Kadrey; Domicile: United States; Citizenship:
                      United States. Authorship: text.

Names:              Kadrey, Richard
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Type of Work:         Text

Registration Number / Date:
                   TX0008385641 / 2017-03-09

Application Title: THE WRONG DEAD GUY.

Title:              THE WRONG DEAD GUY.

Description:        Book, 420 p.

Copyright Claimant:
                      Richard Kadrey.

Date of Creation:     2017

Date of Publication:
                   2017-02-01

Nation of First Publication:
                   United States

Authorship on Application:
                   Richard Kadrey; Domicile: United States; Citizenship:
                      United States. Authorship: text.

Names:              Kadrey, Richard
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Type of Work:         Text

Registration Number / Date:
                   TX0007188321 / 2010-06-02

Application Title: The Bedwetter.

Title:              The Bedwetter.

Description:        Book, 240 p.

Copyright Claimant:
                      Sarah Silverman.

Date of Creation:     2010

Date of Publication:
                   2010-04-01

Nation of First Publication:
                   United States

Authorship on Application:
                   Sarah Silverman; Domicile: United States; Citizenship:
                      United States. Authorship: text.

Names:              Silverman, Sarah
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Type of Work:         Text

Registration Number / Date:
                   TX0008471412 / 2017-09-05

Application Title: ARARAT.

Title:              ARARAT.

Description:        Book, 305 p.

Copyright Claimant:
                      CHRISTOPHER GOLDEN.

Date of Creation:     2016

Date of Publication:
                   2017-03-29

Nation of First Publication:
                   United States

Authorship on Application:
                   CHRISTOPHER GOLDEN; Domicile: not known. Authorship: text.

Names:              GOLDEN, CHRISTOPHER
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Type of Work:         Text

Registration Number / Date:
                   TX0008234899 / 2016-02-23

Application Title: DEAD RINGERS.

Title:              DEAD RINGERS.

Description:        Book, 309 p.

Copyright Claimant:
                      CHRISTOPHER GOLDEN.

Date of Creation:     2014

Date of Publication:
                   2015-10-15

Nation of First Publication:
                   United States

Authorship on Application:
                   CHRISTOPHER GOLDEN; Domicile: not known. Authorship: text.

Names:              GOLDEN, CHRISTOPHER
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Type of Work:         Text

Registration Number / Date:
                   TX0008737109 / 2019-04-05

Application Title: THE PANDORA ROOM.

Title:              THE PANDORA ROOM.

Description:        Book, 307 p.

Copyright Claimant:
                      Christopher Golden.

Date of Creation:     2018

Date of Publication:
                   2019-04-03

Nation of First Publication:
                   United States

Authorship on Application:
                   Christopher Golden; Domicile: United States. Authorship:
                      text.

Names:              Golden, Christopher
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Type of Work:         Text

Registration Number / Date:
                   TX0007828620 / 2014-01-17

Application Title: SNOWBLIND.

Title:              SNOWBLIND.

Description:        Book, 309 p.

Copyright Claimant:
                      CHRISTOPHER GOLDEN.

Date of Creation:     2013

Date of Publication:
                   2014-01-02

Nation of First Publication:
                   United States

Authorship on Application:
                   CHRISTOPHER GOLDEN. Authorship: text.

Names:              GOLDEN, CHRISTOPHER
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Type of Work:         Text

Registration Number / Date:
                   TX0007140102 / 2008-06-04

Application Title: THE BEAUTIFUL STRUGGLE.

Title:              THE BEAUTIFUL STRUGGLE.

Description:        Book, 227 p.

Copyright Claimant:
                      Ta-Nehisi Coates.

Date of Creation:     2007

Date of Publication:
                   2008-05-06

Nation of First Publication:
                   United States

Authorship on Application:
                   Ta-Nehisi Coates; Citizenship: United States.

Copyright Note:     Regarding limitation of claim: deposit contains some
                       illustration from another source.

Names:              Coates, Ta-Nehisi
        Case 3:23-cv-03417-VC      Document 407     Filed 01/21/25   Page 39 of 72



Type of Work:         Text

Registration Number / Date:
                   TX0008806177 / 2019-10-04

Application Title: THE WATER DANCER      A Novel.

Title:              THE WATER DANCER     A Novel.

Description:        Book, 403 p.

Copyright Claimant:
                      BCP Literary, Inc., Transfer: By written agreement.

Date of Creation:     2019

Date of Publication:
                   2019-09-24

Nation of First Publication:
                   United States

Authorship on Application:
                   Ta-Nehisi Coates; Citizenship: United States. Authorship:
                      text.

Pre-existing Material:
                   Text from other sources.

Basis of Claim:       text.

Rights and Permissions:
                   One World, 1745 Broadway, 5th Floor, New York, NY, 10019,
                      United States

ISBN:               9780399590597

Names:              Coates, Ta-Nehisi
                    BCP Literary, Inc.
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Type of Work:         Text

Registration Number / Date:
                   TX0008528330 / 2017-10-20

Application Title: WE WERE EIGHT YEARS IN POWER An American Tragedy.

Title:              WE WERE EIGHT YEARS IN POWER An American Tragedy.

Description: Book, 367 p.

Copyright Claimant:
                      BCP Literary, Inc., Transfer: By written agreement.

Date of Creation:     2017

Date of Publication:
                   2017-10-03

Nation of First Publication:
                   United States

Authorship on Application:
                   Ta-Nehisi Coates; Citizenship: United States. Authorship:
                      Introduction, epilogue, and chapter opening essays
                      excluding text from other sources;.

Pre-existing Material:
                   Text from other sources; essays originally published in THE
                       ATLANTIC.

Basis of Claim:       Introduction, epilogue, and chapter opening essays
                         excluding text from other sources;.

Rights and Permissions:
                   One World, 1745 Broadway, 15th Floor, New York, NY, 10019,
                      United States

ISBN:               9780399590566

Names:              Coates, Ta-Nehisi
                    BCP Literary, Inc.
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Type of Work:         Text

Registration Number / Date:
                   TX0006915029 / 2007-11-06

Application Title: THE BRIEF WONDROUS LIFE OF OSCAR WAO.

Title:              THE BRIEF WONDROUS LIFE OF OSCAR WAO.

Description:        Book, 339 p.

Copyright Claimant:
                      Junot   Diaz.

Date of Creation:     2006

Date of Publication:
                   2007-09-06

Nation of First Publication:
                   United States

Authorship on Application:
                   Junot Diaz; Citizenship: United States. Authorship: entire
                      text (excluding portions published as a short story)

Names:              Diaz, Junot
     Case 3:23-cv-03417-VC          Document 407      Filed 01/21/25   Page 42 of 72



Type of Work:         Text

Registration Number / Date:
                   TX0004325834 / 1996-08-14

Title:                Drown / Junot Diaz.

Imprint:              New York : Riverhead Books,    1996.

Description:          208 p.

Notes:                Collection of short stories.

Copyright Claimant:
                      Junot Diaz

Date of Creation:     1996

Date of Publication:
                   1996-08-08

Names:                Diaz, Junot
     Case 3:23-cv-03417-VC        Document 407    Filed 01/21/25   Page 43 of 72



Type of Work:         Text

Registration Number / Date:
                   TX0005956484 / 2004-05-05

Title:              The confessions of Max Tivoli / Andrew Sean Greer.

Edition:            1st ed.

Imprint:            New York : Farrar, Straus & Giroux,   2004.

Description:        267 p.

Copyright Claimant:
                      Andrew Sean Greer

Date of Creation:     2003

Date of Publication:
                   2004-02-05

Names:              Greer, Andrew Sean
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Type of Work:         Text

Registration Number / Date:
                   TX0005151791 / 2000-02-29

Title:                How it was for me / Andrew Sean Greer.

Edition:              1st ed.

Imprint:              New York : Picador,   2000.

Description:          211 p.

Copyright Claimant:
                      Andrew Sean Greer

Date of Creation:     1999

Date of Publication:
                   2000-02-18

Names:                Greer, Andrew Sean
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Type of Work:         Text

Registration Number / Date:
                   TX0008464510 / 2017-08-14

Application Title: Less.

Title:              Less.

Description:        Book, 263 p.

Copyright Claimant:
                      Andrew Sean Greer.

Date of Creation:     2017

Date of Publication:
                   2017-07-18

Nation of First Publication:
                   United States

Authorship on Application:
                   Andrew Sean Greer; Domicile: United States; Citizenship:
                      United States. Authorship: text.

Pre-existing Material:
                   artwork.

Basis of Claim:       text.

ISBN:               9780316316125

Names:              Greer, Andrew Sean
     Case 3:23-cv-03417-VC        Document 407          Filed 01/21/25   Page 46 of 72



Type of Work:         Text

Registration Number / Date:
                   TX0005438792 / 2001-09-14

Title:                The path of minor planets / Andrew Sean Greer.

Edition:              1st ed.

Imprint:              New York : Picador USA,   2001.

Description:          273 p.

Copyright Claimant:
                      Andrew Sean Greer

Date of Creation:     2001

Date of Publication:
                   2001-09-05

Names:                Greer, Andrew Sean
     Case 3:23-cv-03417-VC        Document 407      Filed 01/21/25   Page 47 of 72



Type of Work:         Dramatic Work and Music; or Choreography

Registration Number / Date:
                   PA0000938173 / 1999-06-14

Title:              Golden child / by David Henry Hwang.

Description:        53 p.

Notes:              Play.

Copyright Claimant:
                      David Henry Hwang

Date of Creation:     1999

Date of Publication:
                   1999-06-10

Names:              Hwang, David Henry
     Case 3:23-cv-03417-VC        Document 407      Filed 01/21/25   Page 48 of 72



Type of Work:         Dramatic Work and Music; or Choreography

Registration Number / Date:
                   PA0000396091 / 1988-12-27

Title:              M. Butterfly / by David Henry Hwang.

Imprint:            New York : Dramatists Play Service,    c1988.

Description:        93 p.

Notes:              A play.

Copyright Claimant:
                      David Henry Hwang

Date of Creation:     1988

Date of Publication:
                   1988-12-20

Previous Registration:
                   Prev. reg. 2Nov86, PAu 911-413.

Basis of Claim:       New Matter: "additions and revisions to the text."

Names:              Hwang, David Henry, 1957-
     Case 3:23-cv-03417-VC         Document 407     Filed 01/21/25   Page 49 of 72



Type of Work:         Dramatic Work and Music; or Choreography

Registration Number / Date:
                   PA0000818054 / 1996-10-10

Title:                Trying to find Chinatown and Bondage.

Description:          47 p.

Notes:                Two plays.

Copyright Claimant:
                      David Henry Hwang

Date of Creation:     1996

Date of Publication:
                   1996-10-08

Other Title:          Bondage

Names:                Hwang, David Henry
     Case 3:23-cv-03417-VC           Document 407    Filed 01/21/25    Page 50 of 72



Type of Work:         Text

Registration Number / Date:
                   TX0005243503 / 2000-07-14

Title:                Sam, the cat and other stories / Matthew Klam.

Edition:              1st ed.

Imprint:              New York : Random House,   c2000.

Description:          243 p.

Copyright Claimant:
                      Matthew Klam

Date of Creation:     1999

Date of Publication:
                   2000-05-16

Previous Registration:
                   Stories prev. pub.

Basis of Claim:       New Matter: compilation & additions.

Names:                Klam, Matthew
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Type of Work:         Text

Registration Number / Date:
                   TX0008480316 / 2017-10-12

Application Title: WHO IS RICH?       A Novel.

Title:              WHO IS RICH?      A Novel.

Description:        Book, 321 p.

Copyright Claimant:
                      Matthew Klam.

Date of Creation:     2017

Date of Publication:
                   2017-07-04

Nation of First Publication:
                   United States

Authorship on Application:
                   Matthew Klam; Citizenship: United States. Authorship: text.

Pre-existing Material:
                   Illustrations by John S. Cuneo.

Basis of Claim:       text.

Rights and Permissions:
                   Penguin Random House LLC, 1745 Broadway, 15th Floor, New
                      York, NY, 10019, United States

ISBN:               9780812997989

Names:              Klam, Matthew
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Type of Work:         Text

Registration Number / Date:
                   TX0007843291 / 2014-02-25

Application Title: AFTER I'M GONE.

Title:              AFTER I'M GONE.

Description:        Book, 334 p.

Copyright Claimant:
                      Laura Lippman.

Date of Creation:     2014

Date of Publication:
                   2014-02-01

Nation of First Publication:
                   United States

Authorship on Application:
                   Laura Lippman; Domicile: United States; Citizenship: United
                      States. Authorship: text.

Names:              Lippman, Laura
     Case 3:23-cv-03417-VC        Document 407         Filed 01/21/25   Page 53 of 72



Type of Work:         Text

Registration Number / Date:
                   TX0005441059 / 2001-09-14

Title:                In a strange city / Laura Lippman.

Edition:              1st ed.

Imprint:              New York : W. Morrow,   c2001.

Description:          310 p.

Copyright Claimant:
                      Laura Lippman

Date of Creation:     2001

Date of Publication:
                   2001-08-16

Names:                Lippman, Laura
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Type of Work:         Text

Registration Number / Date:
                   TX0008771837 / 2019-08-08

Application Title: LADY IN THE LAKE.

Title:              LADY IN THE LAKE.

Description:        Book, 340 p.

Copyright Claimant:
                      Laura Lippman.

Date of Creation:     2019

Date of Publication:
                   2019-07-01

Nation of First Publication:
                   United States

Authorship on Application:
                   Laura Lippman; Domicile: United States; Citizenship: United
                      States. Authorship: text.

Names:              Lippman, Laura
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Type of Work:         Text

Registration Number / Date:
                   TX0008654986 / 2018-03-05

Application Title: SUNBURN.

Title:              SUNBURN.

Description:        Book, 292 p.

Copyright Claimant:
                      Laura Lippman.

Date of Creation:     2018

Date of Publication:
                   2018-02-01

Nation of First Publication:
                   United States

Authorship on Application:
                   Laura Lippman; Domicile: United States; Citizenship: United
                      States. Authorship: Novel.

Copyright Note:     Regarding basis for registration: A work may be registered
                       with the Single Application only if the following
                       requirements have been met: 1) The registration covers
                       one work; 2) The work must be created by one individual;
                       3) All of the material contained within the work must be
                       created by the same individual; 4) The author and the
                       owner of the work must be the same person, and that
                       person must own all of the rights in the work; 5) The
                       work cannot be a work made for hire.

Names:                Lippman, Laura
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Type of Work:         Text

Registration Number / Date:
                   TX0006554453 / 2007-04-05

Title:                What the dead know.

Copyright Claimant:
                      Laura Lippman

Date of Creation:     2007

Date of Publication:
                   2007-03-01

Copyright Note:       Cataloged from appl. only.

Names:                Lippman, Laura
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Type of Work:         Text

Registration Number / Date:
                   TX0008278638 / 2016-05-12

Application Title: WILDE LAKE.

Title:              WILDE LAKE.

Description:        Book, 352 p.

Copyright Claimant:
                      Laura Lippman.

Date of Creation:     2016

Date of Publication:
                   2016-05-01

Nation of First Publication:
                   United States

Authorship on Application:
                   Laura Lippman; Domicile: United States; Citizenship: United
                      States. Authorship: text.

Names:              Lippman, Laura
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Type of Work:         Text

Registration Number / Date:
                   TX0008762468 / 2019-03-22

Application Title: No Visible Bruises: What We Don't Know About Domestic
                      Violence Can Kill Us.

Title:                No Visible Bruises: What We Don't Know About Domestic
                         Violence Can Kill Us.

Description:          Book, 307 p.

Copyright Claimant:
                      Rachel Louise Snyder.

Date of Creation:     2019

Date of Publication:
                   2019-05-07

Nation of First Publication:
                   United States

Authorship on Application:
                   Rachel Louise Snyder; Domicile: United States. Authorship:
                      text.

Pre-existing Material:
                   previously published text.

Basis of Claim:       text.

Rights and Permissions:
                   Callie Garnett, Bloomsbury Press, 1385 Broadway, 5th Floor,
                      New York, NY, 10018, (212) 419-5329,
                      callie.garnett@bloomsbury.com

Copyright Note:       C.O. correspondence.

Names:                Snyder, Rachel Louise
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Type of Work:         Text

Registration Number / Date:
                   TX0007055718 / 2008-04-01

Application Title: AFTER TUPAC & D FOSTER.

Title:              AFTER TUPAC & D FOSTER.

Description:        2 Books.

Copyright Claimant:
                      Jacqueline   Woodson.

Date of Creation:     2007

Date of Publication:
                   2008-01-10

Nation of First Publication:
                   United States

Authorship on Application:
                   Jacqueline Woodson; Citizenship: United States.
                      Authorship: entire text.

Names:              Woodson, Jacqueline
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Type of Work:         Text

Registration Number / Date:
                   TX0008269833 / 2016-08-11

Application Title: Another Brooklyn.

Title:              Another Brooklyn.

Description:        Book, 175 p.

Copyright Claimant:
                      Jacqueline Woodson.

Date of Creation:     2016

Date of Publication:
                   2016-08-01

Nation of First Publication:
                   United States

Authorship on Application:
                   Jacqueline Woodson; Domicile: United States; Citizenship:
                      United States. Authorship: text.

Names:              Woodson, Jacqueline
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Type of Work:         Text

Registration Number / Date:
                   TX0006005315 / 2004-07-30

Title:              Behind you / Jacqueline Woodson.

Imprint:            New York : G.P. Putnam's Sons,    c2004.

Description:        118 p.

Copyright Claimant:
                      Jacqueline Woodson

Date of Creation:     2003

Date of Publication:
                   2004-05-24

Names:              Woodson, Jacqueline
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Type of Work:         Text

Registration Number / Date:
                   TX0007504670 / 2012-03-20

Application Title: BENEATH A METH MOON.

Title:              BENEATH A METH MOON.

Description:        Book, 182 p.

Copyright Claimant:
                      Jacqueline Woodson.

Date of Creation:     2011

Date of Publication:
                   2012-02-02

Nation of First Publication:
                   United States

Authorship on Application:
                   Jacqueline Woodson; Citizenship: United States. Authorship:
                      text.

Rights and Permissions:
                   Jeffery Corrick, Penguin Group (USA) Inc., Permissions
                      Dept., 375 Hudson Street, New York, NY, 10014, United
                      States, (212) 366-2684,
                      jeffery.corrick@us.penguingroup.com

Names:              Woodson, Jacqueline
     Case 3:23-cv-03417-VC         Document 407   Filed 01/21/25   Page 63 of 72



Type of Work:         Text

Registration Number / Date:
                   TX0008741080 / 2019-04-03

Application Title: BROWN GIRL DREAMING.

Title:              BROWN GIRL DREAMING.

Description:        Book, 349 p.

Copyright Claimant:
                      Jaqueline Woodson.

Date of Creation:     2016

Date of Publication:
                   2016-10-11

Nation of First Publication:
                   United States

Authorship on Application:
                   Jacqueline Woodson; Citizenship: United States. Authorship:
                      additional poems.

Previous Registration:
                   2014, TX 7-957-319.

Pre-existing Material:
                   prior edition.

Basis of Claim:       additional poems.

Names:              Woodson, Jacqueline
                    Woodson, Jaqueline
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Type of Work:         Text

Registration Number / Date:
                   TX0006560320 / 2007-05-14

Title:                Feathers.

Copyright Claimant:
                      Jacqueline Woodson

Date of Creation:     2006

Date of Publication:
                   2007-03-01

Copyright Note:       Cataloged from appl. only.

Names:                Woodson, Jacqueline
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Type of Work:         Text

Registration Number / Date:
                   TX0008675581 / 2018-10-02

Application Title: HARBOR ME.

Title:              HARBOR ME.

Description:        Book, 176 p.

Copyright Claimant:
                      Jacqueline Woodson.

Date of Creation:     2017

Date of Publication:
                   2018-08-28

Nation of First Publication:
                   United States

Authorship on Application:
                   Jacqueline Woodson; Citizenship: United States. Authorship:
                      Novel.

Copyright Note:     Regarding basis for registration: A work may be registered
                       with the Single Application only if the following
                       requirements have been met: 1) The registration covers
                       one work; 2) The work must be created by one individual;
                       3) All of the material contained within the work must be
                       created by the same individual; 4) The author and the
                       owner of the work must be the same person, and that
                       person must own all of the rights in the work; 5) The
                       work cannot be a work made for hire.

ISBN:                 978-0-399-24653-1

Names:              Woodson, Jacqueline
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Type of Work:         Text

Registration Number / Date:
                   TX0004902328 / 1998-11-30

Title:              If you come softly / Jacqueline Woodson.

Imprint:            New York : G.P. Putnam's Sons,    [1998]

Description:        181 p.

Copyright Claimant:
                      Jacqueline Woodson

Date of Creation:     1998

Date of Publication:
                   1998-09-28

Names:              Woodson, Jacqueline
     Case 3:23-cv-03417-VC        Document 407       Filed 01/21/25   Page 67 of 72



Type of Work:         Text

Registration Number / Date:
                   TX0005225273 / 2000-06-02

Title:                Miracle's boys / Jacqueline Woodson.

Edition:              1st impression.

Imprint:              New York : G.P. Putnam's,   c2000.

Description:          133 p.

Copyright Claimant:
                      Jacqueline Woodson

Date of Creation:     1999

Date of Publication:
                   2000-04-01

Names:                Woodson, Jacqueline
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Type of Work:         Text

Registration Number / Date:
                   TX0008797859 / 2019-09-18

Application Title: RED AT THE BONE.

Title:              RED AT THE BONE.

Description:        Book, 196 p.

Copyright Claimant:
                      Jacqueline Woodson.

Date of Creation:     2019

Date of Publication:
                   2019-09-17

Nation of First Publication:
                   United States

Authorship on Application:
                   Jacqueline Woodson; Citizenship: United States. Authorship:
                      text, Excluding lyrics from another source.

Pre-existing Material:
                   Lyrics from another source.

Basis of Claim:       text, Excluding lyrics from another source.

Rights and Permissions:
                   Riverhead Books, c/o Penguin Random House LLC, 1745
                      Broadway, New York, NY, 10019, United States

ISBN:               9780525535270

Names:              Woodson, Jacqueline
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Type of Work:         Text

Registration Number / Date:
                   TX0008564815 / 2018-04-04

Application Title: Embraced.

Title:              Embraced.

Description:        Book, 333 p.

Copyright Claimant:
                      Lysa TerKeurst, 1969-   .

Date of Creation:     2018

Date of Publication:
                   2018-03-26

Nation of First Publication:
                   United States

Authorship on Application:
                   Lysa TerKeurst, 1969-      ;   Citizenship: United States.
                      Authorship: text.

Pre-existing Material:
                   Biblical Text.

Basis of Claim:       text.

Rights and Permissions:
                   Linda R. Russell, HarperCollins Christian Publishing,
                      Thomas Nelson Publishing, 501 Nelson Place, Nashville,
                      TN, 37214, United States, (615) 902-1188,
                      linda.russell@harpercollins.com

ISBN:               9781400310296

Names:              TerKeurst, Lysa, 1969-
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Type of Work:         Text

Registration Number / Date:
                   TX0007461682 / 2011-12-08

Application Title: Made to Crave Devotional.

Title:              Made to Crave Devotional.

Description:        Book, 199 p.

Copyright Claimant:
                      Lysa TerKeurst, 1969-    .

Date of Creation:     2011

Date of Publication:
                   2011-12-02

Nation of First Publication:
                   United States

Authorship on Application:
                   Lysa TerKeurst, 1969- ; Domicile: United States;
                      Citizenship: United States. Authorship: text.

Pre-existing Material:
                   some text from other sources.

Basis of Claim:       text.

ISBN:               9780310334705

Names:                TerKeurst, Lysa, 1969-
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                      TX0007580702 / 2012-08-09

Application Title: Unglued.

Title:              Unglued.

Description:        Book, 199 p.

Copyright Claimant:
                      Lysa TerKeurst, 1969-   .

Date of Creation:     2012

Date of Publication:
                   2012-07-19

Nation of First Publication:
                   United States

Authorship on Application:
                   Lysa TerKeurst, 1969- ; Domicile: United States;
                      Citizenship: United States. Authorship: text.

Pre-existing Material:
                   Some text from other sources.

Basis of Claim:       text.

ISBN:               9780310332794

Names:              TerKeurst, Lysa, 1969-
     Case 3:23-cv-03417-VC   Document 407         Filed 01/21/25   Page 72 of 72




     Registration No.           Title of Work                    Author
TX0007187361            Blood Oath                      Christopher Farnsworth
TX0008114675            The Eternal World               Christopher Farnsworth
TX0008433399            Flashmob                        Christopher Farnsworth
TX0007399612            The President’s Vampire         Christopher Farnsworth
